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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                             Miami Division

  JANE DOE,                                                       Case No: 1:25-cv-20757-JB/Torres

          Plaintiff,

  vs.

  STEVEN K. BONNELL II,

        Defendant.
  __________________________________/

    PLAINTIFF JANE DOE’S REPLY IN SUPPORT OF MOTION TO HAVE JUNE 3RD,
         2025 EVIDENTIARY HEARING TRANSCRIPT FILED UNDER SEAL

          COMES NOW Plaintiff Jane Doe, by and through undersigned counsel, and hereby

  submits her Reply in Support of her Motion to Have June 3rd, 2025 Evidentiary Hearing Transcript

  Filed Under Seal, and respectfully states as follows:

                                  I.      INTRODUCTION

          Defendant’s Opposition (ECF 101) distorts both the record and the applicable legal

  standards, and reveals that his only interest in opposing sealing is financial and performative, not

  rooted in any public right. Plaintiff does not seek to shield herself from embarrassment or scrutiny,

  as Defendant suggests. (Id. at 3). Rather, she seeks to protect deeply private, sexually explicit, and

  mental health-related testimony from being broadcast to over one million online followers by a

  political streamer who has a documented pattern of weaponizing public proceedings for

  harassment, monetization, and spectacle. Defendant has, throughout the case, used his platform to

  publicly attack Plaintiff, her counsel, and even third-party witnesses. See ECF Nos. 73, 82, 84, 98,

  104, 105. If the transcript is unsealed, it is all but certain that it will be publicly read, mocked, and




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  monetized online in ways that will inflict real and irreparable harm. Indeed, Defendant has already

  explicitly stated that he will read the transcript out loud on his platform if it is unsealed. 1

          Magistrate Judge Torres, who presided over the June 3rd hearing, and heard the testimony,

  readily granted Plaintiff’s Motion to Seal the transcript. ECF 91. Defendant has provided no

  legitimate reason to unseal the transcript, nor is there any.

                    II. PLAINTIFF’S PRIVACY INTERESTS OUTWEIGH THE PUBLIC
                  INTEREST THUS THERE IS GOOD CAUSE FOR SEALING THE
                                         TRANSCRIPT

          The common law right of access may be overcome by a showing of good cause, which

  requires “balanc[ing] the asserted right of access against the other party's interest in keeping the

  information confidential." Chi. Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304 (11th

  Cir. 2001)(vacating lower court’s order unsealing documents because it erred by applying the

  heightened standard of a “compelling interest, 2” rather than merely good cause, to have documents

  sealed). The content of this transcript, combined with the Defendant’s highly unusual use of his

  public platform, meets this standard easily. Courts are especially protective of sexual privacy and

  mental health testimony—two topics directly implicated in the transcript. Here, Plaintiff’s claims



  1
    https://www.youtube.com/watch?v=cLqgOumO0AE at minute 12:09. This hour and a half video
  is solely about the June 3rd Hearing. It was filmed on June 3rd and was posted on June 4, 2025 and
  to date has 353,981 views.
  2 The Defendant conflates the applicable standard and relies on inapposite precedent. The

  Opposition asserts that “heightened scrutiny” and a “compelling governmental interest” are
  necessary (Opp. p. 4), relying on Globe Newspaper Co. v. Super. Ct., 457 U.S. 596, 606-07 (1982),
  but that was a criminal case, and the standard is not applicable to a civil case. Defendant also
  erroneously contends that records should not be sealed “absent extraordinary circumstances.” Opp.
  p. 4. Defendant relies on Doe v. Ga. Dep’t of Corr., No. 24-11382, 2024 WL 5200055, at *3 (11th
  Cir. Dec. 23, 2024) for this contention, but Doe says no such thing. Moreover, Doe is
  distinguishable because it is “a case pertaining to conditions of prisoner confinement and it is
  undeniable that the public has a powerful interest in the non-identifying information involved in
  these proceedings.” Id. at 10. There is no such powerful public interest in the private sexual and
  mental health information of Plaintiff.



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  are based on her right to privacy, and as the Defendant is well aware, the transcript at issue includes

  testimony about Plaintiff’s private mental health history; details that could lead to her identity;

  intimate sexual communications shared in confidence; and testimony about sexually explicit

  content unrelated to the statutory liability issues. 3

           ~The subject matter of the transcript is traditionally considered private, not public.

           “In determining the weight to be accorded an assertion of a right of privacy, courts should

  first consider the degree to which the subject matter is traditionally considered private rather than

  public. Financial records of a wholly owned business, family affairs, illnesses, embarrassing

  conduct with no public ramifications, and similar matters will weigh more heavily against access

  than conduct affecting a substantial portion of the public.” United States v. Amodeo, 71 F.3d 1044,

  1051 (2d Cir. 1995)(reversing judgment releasing redacted version of sealed document, and

  ordering that it be resealed because it contained little meaningful information to the public and

  would subject the party to public harassment). “Foremost among the competing concerns that a

  court weighing disclosure must consider is ‘the privacy interest of the person resisting

  disclosure.’" Mirlis v. Greer, 952 F.3d 51, 61 (2d Cir. 2020), citing Amodeo, 71 F.3d at 1050.

           Courts consistently recognize that sexual and mental health information is considered

  private and not public, justifying sealing, especially when public disclosure would serve no

  legitimate function but instead expose the party to stigma and harassment. See, e.g., In re Sealed

  Case, 237 F.3d 657, 667 (D.C. Cir. 2001)(reversing denial of motion to seal where strong privacy




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    For instance, there was testimony elicited from Plaintiff for the purpose of showing implied consent, but implied
  consent is not relevant to any of Plaintiff’s claims. CARDII, 15 U.S.C. § 6851(a)(2), specifically requires that any
  consent be explicit: “The term “consent” means an affirmative, conscious, and voluntary authorization made by the
  individual free from force, fraud, misrepresentation, or coercion.” It further provides that “the fact that the individual
  disclosed the intimate visual depiction to someone else shall not establish that the person consented to the further
  disclosure of the intimate visual depiction by the [defendant].” 15 U.S.C. § 6851 (b)(2)(B). That makes the related
  testimony not only private but legally irrelevant, and certainly not material enough to justify public disclosure.


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  interests outweigh presumption in favor of public access); United States v. Kravetz, 706 F.3d 47,

  63–64 (1st Cir. 2013)( privacy interests may outweigh the public’s right to know, particularly when

  mental health, sexual matters, or highly personal communications are at issue); Prospero v.

  Prescott, No. 2:20-cv-110, 2023 U.S. Dist. LEXIS 177207, at *2-5 (S.D. Ga. Oct. 2,

  2023)(granting motion to permanently seal records, where “the public’s limited interest in viewing

  Plaintiff’s health records or having access to [the doctor’s] deposition transcript is outweighed by

  Plaintiff’s right to keep those matters private.”). Here, the testimony in the transcript “does not

  concern public officials, nor does it affect public concerns,” thus there is limited public interest in

  allowing public access to the transcript, id. at *3, whereas Plaintiff’s interest in sealing the

  transcript and protecting her private sexual and mental health information is high.

         ~The nature and degree of the injury weighs in favor of sealing.

         “The nature and degree of injury must also be weighed. This will entail consideration not

  only of the sensitivity of the information and the subject but also of how the person seeking access

  intends to use the information. Commercial competitors seeking an advantage over rivals need not

  be indulged in the name of monitoring the courts, and personal vendettas similarly need not be

  aided.” Amodeo, 71 F.3d 1044, 1051 (emphasis supplied). Defendant purports to be opposing the

  sealing of the transcript out of concern for the common law right of public access, but it is

  transparently obvious that he wants the transcript to be public only to serve his own personal

  interests. It is beyond any doubt that if the transcript is unsealed, Defendant will publish it on his

  live streams and also read it out loud for the merriment of his hundreds of thousands of followers.

  (See Fn 1).

         ~Defendant’s motives and likely use mandate sealing the transcript.




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         Defendant’s motives in having the transcript unsealed must be considered when balancing

  Plaintiff’s privacy interests against the interests of public access. Courts may deny public access

  to judicial documents, such as the transcript, to ensure that judicial records do not “become a

  vehicle for improper purposes.” Nixon v. Warner Communs., Inc., 4435 U.S. 589, 598

  (1978)(emphasis supplied). Here, Defendant has already publicly stated that he intends to read the

  transcript out loud on his platforms (see FN 1), and there has been ample evidence presented to

  the Court of his hours long discussions of the details of this case on his online platforms, including

  threats, harassment, and ridicule of Plaintiff, witnesses and counsel. The Nixon Court expressed

  particular concern about protecting from purely prurient interest the display or disclosure of

  otherwise embarrassing private or familial information obtained through the courts. See id. at 601.

  It explained that "the common-law right of inspection," although undoubtedly powerful and never

  lightly subordinated, must give way where records are sought merely "to gratify private spite or

  promote public scandal through the publication of the painful and sometimes disgusting details"

  of cases. Id. at 598; accord Amodeo, 71 F.3d at 1051 ("Courts have long declined to allow public

  access simply to cater to a morbid craving for that which is sensational and impure.").

         The Mirlis court reversed the lower court’s decision to unseal a judicial document precisely

  because the lower court failed to consider the motives of the party seeking to have the document

  unsealed. 952 F.3d 51, 62-65. “[C]ourts should consider personal motives (including an applicant's

  desire to pursue an "individual vendetta") at the third, balancing step of the inquiry, in connection

  with any asserted privacy interests, "based on an anticipated injury as a result of disclosure." Id. at

  62. This information is relevant particularly when an individual, and not the press, seeks public

  access to sensitive information. Id.




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         Here, Defendant is not a typical litigant. He is a professional online streamer whose income

  is largely derived from publicly discussing controversial topics—including this lawsuit. Since the

  outset of this case, Defendant has repeatedly posted about it on his streaming platforms, mocked

  Plaintiff and her legal team, and weaponized court filings for online content. Defendant has also

  publicly ridiculed Plaintiff’s mental health, sexual history, and witnesses who supported her case.

  This is not speculative; his pattern of commentary is well documented and includes livestreams,

  tweets, and reposts designed to stir harassment by his audience. See ECF Nos. 73, 82, 84, 98, 104,

  105. Indeed, Defendant’s only plausible reason for opposing sealing is his interest in continuing

  to exploit the transcript for personal profit and performative harassment. For this reason, the

  transcript must remain sealed to prevent further and additional harm to Plaintiff.

       III.    PLAINTIFF DID NOT WAIVE HER RIGHT TO HAVE THE TRANSCRIPT
                                        SEALED

         Defendant contends, without any legal authority, that Plaintiff waived her right to have the

  transcript sealed because i) there were “members of the public present,” and ii) Plaintiff did not

  request sealing until the day after the hearing.

         First, Defendant grossly overstates the “public” nature of the hearing. Defendant falsely

  asserts that ““[m]ultiple individuals unaffiliated with the parties were present in the courtroom

  gallery, some of whom took contemporaneous notes, and later published detailed summaries

  online.” Opp. p. 7. And again: “Members of the public attended the hearing, took notes, and later

  discussed the proceeding online and in various public forums discussed the proceeding online and

  in various public forums.” Opp. p. 2. But in fact, only one individual sat in the gallery—an

  associate of Defendant with the screen name Zip. No press were present. The proceeding was only

  discussed online by the Defendant and Zip on Defendant’s streaming platform (see link at FN 1).

  The video stream makes it clear that Zip was the one taking the notes at the hearing so that



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  Defendant could rely on them for his live stream. The article referenced in the Opposition (p. 2,

  FN 1) as support for Defendant’s false statements was based solely on Defendant’s video stream

  and included a link to a portion of the stream. The author of the article has acknowledged that he

  was NOT in the courtroom, and that “the reporting is based explicitly on the video clip that is also

  attached in the article from Destiny himself.” https://kiwifarms.st/threads/steven-bonnell-ii-

  destiny-destiny-gg.29205/page-1669#post-21765482 In fact, the article was later amended to

  reflect this fact, and the original line was changed to read, “Destiny recently shared that he learned

  through court proceedings that…”. Defendant’s deliberate attempts to mislead the Court should be

  sanctioned.

         Second, Plaintiff’s failure to move contemporaneously for sealing does not waive her

  rights, particularly where the emotional distress from the hearing's content and the anticipated

  misuse became apparent only after the hearing concluded. (FN 1). Post-hearing sealing is routinely

  granted in similar situations involving sensitive sexual or mental health testimony, particularly

  where the threat of misuse or online harassment is credible and imminent. See, e.g., Mirlis, 952

  F.3d 51 (post trial sealing of judicial document, a video deposition, that was played for several

  hours during a public trial, where party opposing sealing motivated by ill will and intended to

  publish the video online). The Mirlis court found that the lower court erred by discounting the

  privacy interests of the person seeking sealing. The lower court’s reasons, that i) the person’s

  testimony had already been made publicly available, and ii) the person failed to request that the

  deposition be sealed at the time he sat for it, were specifically rejected by the appellate court. Id.

  at 65-67. Similarly, here the Court should reject the Defendant’s baseless arguments.

      IV.       PLAINTIFF’S LIMITED PUBLIC STATEMENTS IN NO WAY UNDERMINE
                                       HER REQUEST




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         Defendant’s reliance on Plaintiff’s limited public advocacy (e.g., posts seeking legal

  funding) is a red herring. Discussing her case in broad, general terms does not waive her right to

  protect explicit details about her sexuality or mental health from being dissected in a monetized

  online video. Further, Plaintiff’s modest online fundraising activity does not equate to

  "publicizing" her private testimony. The hypocrisy of Defendant’s argument is glaring. Defendant,

  by contrast, is a professional content creator earning revenue by sensationalizing this case. He has

  mocked and doxxed Plaintiff’s supporters and witnesses, ensuring that public disclosure of the

  transcript would lead to further harassment and harm. Indeed, right after the hearing concluded,

  Defendant was streaming on his platform and mocking the Plaintiff for having cried while she was

  testifying (see link at FN 1). In his chat thread on his personal platform, Defendant wrote to his

  followers that Plaintiff “had a big breakdown and started crying halfway through, we had to take

  a 10 min break. LOOOOOOOOOOL.”4 He also writes; “I’m gonna be honest I got really

  uncomfortable when she was on the stand and started getting upset because it started to look like

  I had hooked up with someone mentally ill.” This disparaging comment is followed by a laughing

  emoji.5 Defendant has provided no evidence of any similar publishing by Plaintiff, or of any

  similar pattern of conduct of using court documents to publicly harass and humiliate Defendant

  and his witnesses. Nor can he provide such evidence because only Defendant, and not Plaintiff,

  has engaged in such conduct. See ECF Nos. 73, 82, 84, 98, 104, 105.



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         Accordingly, Plaintiff urges the Court to maintain the transcript under seal. Alternatively,

  in the event that the Court determines Plaintiff has not demonstrated good cause to have the entire

  transcript sealed, Plaintiff requests that she be allowed to designate portions of the transcript as

  confidential, and that the transcript only be unsealed in redacted form.

                                        V. CONCLUSION

         Plaintiff respectfully requests that the Court reject Defendant’s opposition and grant the

  Motion to Seal the June 3, 2025 hearing transcript. The public interest in having the testimony

  involving Plaintiff’s sexual and mental health information, and identifying data be public is very

  low, and Plaintiff’s interest in keeping this information private is very high. Unsealing the

  transcript would not serve judicial transparency—it would serve harassment, public humiliation,

  and online profiteering.



         Respectfully submitted,

         Dated: June 26, 2025.

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                                                By:_________________________________
                                                            CARLOS A. GARCIA PEREZ




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 26, 2025 a true and correct copy of the foregoing was

   served on all parties via the CM/ECF filing portal to all counsel of record.




                                                        By: ________________________
                                                               CARLOS A. GARCIA PEREZ
                                                               Attorney for Plaintiff




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